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                         UNITED STATES DISTRICT COURT

                         MIDDLE DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                      :
                                              :          CRIMINAL NO. 23-77-BAJ-RLB
     versus                                   :
                                              :
HANNAH KINCHEN                                :



              UNITED STATES’ MOTION FOR PROTECTIVE ORDER
                    REGARDING DISCOVERY MATERIALS

       The United States of America, through the undersigned Assistant United States

Attorney, respectfully requests that the Court, pursuant to Rule 16(d)(1) of the Federal Rules

of Criminal Procedure, enter an order prohibiting the unauthorized disclosure of discovery

materials or information contained therein to non-litigants. In support of this motion, the

United States submits the following:

                                             1.

       The defendant, Hannah Kinchen, stands indicted for production and attempted

production of child pornography, and distribution of child pornography.

                                             2.

       The defendant made her initial appearance and pleaded not guilty.

                                             3.
       The United States has identified a voluminous amount of discovery material

containing personal identifying information, as outlined in Rule 49.1 of the Federal Rules of

Criminal Procedure. These materials will be disclosed to the defense within the timeframe

provided by the Court’s scheduling orders. However, the United States requests a Rule
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 16(d)(1) protective order for the purpose of safeguarding the contents of the discovery

 disclosures.

                                                4.

       The instant prosecution involves a substantial amount of personal identifying

information which is contained in the records, including bank statements, copies of

identification documents, and investigative reports. Collectively, these records are

hereinafter referred to as the “discovery materials.” Among other things, the personal

identifying information in the discovery materials includes social security numbers,

birthdates, home addresses, telephone contact numbers, and financial account numbers.

                                                5.

       Some of the documentary evidence containing the sensitive, private information is

material and necessary to the prosecution and defense of this case. Because of the volume of

records at issue however, it was not reasonably possible to produce most of the information

to the defendant in redacted form. Moreover, heavy redaction of the documents may hinder

defense counsel’s ability to review and most effectively utilize the materials.

                                                6.

       The United States respectfully submits that because of the volume and nature of the

discovery materials in this case, it is appropriate for the Court to enter a Protective Order,

pursuant to Rule 16(d)(1) of the Federal Rules of Criminal Procedure, containing the

following provisions:




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a. Defense counsel shall use the information, documents, and other materials provided

   through discovery solely in connection with the defense of this case and for no other

   purpose and in connection with no other proceeding without further Order of this

   Court.

b. Defense counsel shall securely maintain the information, documents, and other

   materials provided through discovery.

c. Upon the receipt of documents or other materials containing personal identifying

   information (including social security numbers, addresses, financial account numbers,

   and dates of birth, witness statements in any form, or other records), defense counsel

   is to take all steps necessary to ensure that these materials are not disseminated to

   anyone other than the defense attorney, his or her staff (including investigators or

   experts), or the defendant (collectively, “authorized persons”), for use in connection

   with the defense of this case.

d. Defense counsel should inform authorized persons who receive the discovery

   materials that the materials are provided subject to the terms of a Protective Order and

   that the authorized person must comply with the terms of a Protective Order.

e. The discovery materials may not be used by the defendant for any other purpose, or

   be furnished to anyone else by the defendant.

f. No discovery materials may be left unattended at any place where it can be taken or

   copied by anyone who is not an authorized person.

g. Discovery materials and their contents, and any notes or other record of such

   materials or their contents, should not be disclosed either directly or indirectly to any

   person or entity other than the defendant, defense counsel, persons employed to assist
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   in the defense, individuals who are interviewed as potential witnesses in the case, or

   such other persons as to whom the Court may authorize disclosure.

h. The discovery materials shall not be copied or reproduced except as necessary to

   provide copies of the materials to an authorized person as described above to prepare

   or assist in the defense, and all such copies or reproductions shall be treated in the

   same manner as the original matter.

i. Upon completion of this case, existing copies of the materials provided to any

   authorized person shall be shredded or returned to the government.

j. The disclosure or provision of documents or materials by the government to the

   defendant shall not operate as a waiver of any privilege or protection that could or

   may be asserted by the holder of any such privilege or protection.

k. The Protective Order does not constitute a ruling on the question of whether any

   particular material is properly discoverable or admissible and does not constitute any

   ruling on any potential objection to the discoverability of any material.

l. Nothing in this Protective Order shall prevent any party from applying to the Court

   for further relief or for modification of any provision herein.




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                                            7.

       The United States has consulted with counsel for the defendant, who has no objection

to the proposed Protective Order.

       WHEREFORE, the United States respectfully prays for the above relief.

                                          UNITED STATES OF AMERICA, by

                                          RONALD C. GATHE, JR.
                                          UNITED STATES ATTORNEY

                                          /s/ Kristen L. Craig
                                          Kristen Lundin Craig, LBN 32565
                                          Assistant United States Attorney
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                          UNITED STATES DISTRICT COURT

                          MIDDLE DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                        :
                                                :          CRIMINAL NO. 23-77-BAJ-RLB
      versus                                    :
                                                :
HANNAH KINCHEN                                  :


                                           ORDER

       This matter having come before the Court on the motion of the United States, by and

through its undersigned counsel, and the Court having found that entering a Protective Order

regarding discovery materials is appropriate, and for good cause shown,

   IT IS HEREBY ORDERED pursuant to Rule 16(d)(1) of the Federal Rules of Criminal

Procedure that the following provisions shall govern the handling of discovery in this matter:

   a. Defense counsel shall use the information, documents, and other materials provided

       through discovery solely in connection with the defense of this case and for no other

       purpose and in connection with no other proceeding without further Order of this

       Court.

   b. Defense counsel shall securely maintain the information, documents, and other

       materials provided through discovery.

   c. Upon the receipt of documents or other materials containing personal identifying

       information (including social security numbers, addresses, financial account numbers,

       and dates of birth, witness statements in any form, personal emails, or other records),

       defense counsel is to take all steps necessary to ensure that these materials are not

       disseminated to anyone other than the defense attorney, his or her staff (including
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   investigators or experts), or the defendant (collectively, “authorized persons”), for use

   in connection with the defense of this case.

d. Defense counsel should inform authorized persons who receive the discovery

   materials that the materials are provided subject to the terms of a Protective Order and

   that the authorized person must comply with the terms of a Protective Order.

e. The discovery materials may not be used by the defendant for any other purpose, or

   be furnished to anyone else by the defendant, without further Order of this Court.

f. No discovery materials may be left unattended at any place where it can be taken or

   copied by anyone who is not an authorized person.

g. Discovery materials and their contents, and any notes or other record of such

   materials or their contents, should not be disclosed either directly or indirectly to any

   person or entity other than the defendant, defense counsel, persons employed to assist

   in the defense, individuals who are interviewed as potential witnesses in the case, or

   such other persons as to whom the Court may authorize disclosure.

h. The discovery materials shall not be copied or reproduced except as necessary to

   provide copies of the materials to an authorized person as described above to prepare

   or assist in the defense, and all such copies or reproductions shall be treated in the

   same manner as the original matter.

i. Upon completion of this case, existing copies of the materials provided to any

   authorized person shall be shredded or returned to the government.

j. The disclosure or provision of documents or materials by the government to the

   defendant shall not operate as a waiver of any privilege or protection that could or

   may be asserted by the holder of any such privilege or protection.
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k. This Protective Order does not constitute a ruling on the question of whether any

   particular material is properly discoverable or admissible and does not constitute any

   ruling on any potential objection to the discoverability of any material.

l. Nothing in this Protective Order shall prevent any party from applying to the Court

   for further relief or for modification of any provision herein.



SO ORDERED this             day of September, 2023, at Baton Rouge, Louisiana.



                                                _________________________________
                                                HONORABLE BRIAN A. JACKSON
                                                UNITED STATES DISTRICT COURT
                                                MIDDLE DISTRICT OF LOUISIANA




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